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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 JESSE CARTER, individually and                          CASE NO.: 6:19-cv-378-ORL-37GJK
 on behalf of all others similarly situated,
                                                         CLASS ACTION
         Plaintiffs,
 v.

 GREEN CASH, LLC, a foreign corporation,
 and WD SERVICES, LLC, a foreign corporation,

       Defendants.
 ___________________________________/


                  JOINT STIPULATION AND MOTION FOR DISMISSAL

       Plaintiff, JESSE CARTER (“Plaintiff”), and Defendant, GREEN CASH, LLC (“Green

Cash”), by and through their respective undersigned counsel (the “Parties”), stipulate and agree

that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this litigation is voluntarily

dismissed ​with prejudice as to all claims of Plaintiff, and ​without prejudice as to all claims of any

unnamed member of the putative class, with each party to bear their own attorney’s fees and

costs. The Parties hereby move the court for entry of an Order acknowledging the dismissal of

the action pursuant to Rule 41(a)(1)(A)(ii) and directing the Clerk to close the case.

       Dated this 15th day of July, 2019.



                                 [​Signature to follow on next page​.]




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 Counsel for Defendant


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on 15th day of July, 2019, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

filing to all parties who have elected to receive such service.

                                                              /s/ Jacob Phillips
                                                              Jacob L. Phillips
                                                              Florida Bar No.: 120130




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